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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
RICHARD STRAIN and DAVID GARNER,
individually and on behalf of all others similarly situated,

                                   Plaintiffs,
                                                                           MEMORANDUM
                 v.                                                        AND ORDER
                                                                           24-CV-08885-SJB-ST


SOUTHWEST AIRLINES CO.,

                                    Defendant.
-----------------------------------------------------------------------X
BULSARA, United States District Judge:

        Defendant Southwest Airlines Co. (“Southwest”) has filed a motion for

reconsideration of this Court’s decision denying its motion to dismiss, which was

issued during a premotion conference on April 23, 2025. (Mot. for Recons. dated May 7,

2025, Dkt. No. 21; see Min. Entry for Premot. Conference dated Apr. 23, 2025). The

motion is denied.

        Reconsideration is “an extraordinary request that is granted only in rare

circumstances, such as where the court failed to consider evidence or binding

authority.” Van Buskirk v. United Grp. of Companies, Inc., 935 F.3d 49, 54 (2d Cir. 2019).

As such, “reconsideration will generally be denied unless the moving party can point to

controlling decisions or data that the court overlooked—matters, in other words, that

might reasonably be expected to alter the conclusion reached by the court.” Shrader v.

CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). Though Southwest contends its

application fits appropriately within these exacting standards, it is nothing more than
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an attempt to reargue, shift positions, and make new arguments after having its initial

motion denied.

       In its letter seeking a premotion conference, Southwest—in its tertiary argument

following two legally invalid arguments about preemption—contended that the Federal

Labor Standards Act (“FLSA”) “requires only ‘prompt’ payment and does not impose a

specific deadline for paying wages.” (Letter Mot. for Premot. Conference dated Mar. 10,

2025 (“Def.’s PMC Letter”), Dkt. No. 11 at 3 (citing Rogers v. City of Troy, 148 F.3d 52, 55

(2d Cir. 1998))). Southwest argued, therefore, that a violation of New York Labor Law

(“NYLL”) § 191, which requires weekly pay, cannot be the basis for a FLSA claim. (Id.

at 1 (“Plaintiffs’ . . . FLSA claim fails for the straightforward reason that the FLSA does

not mandate weekly pay.”)). The Court rejected this argument, noting that a violation

of NYLL § 191 could be one factor suggesting—and indeed an objective indication—

that Southwest did not promptly pay its employees, and therefore constitute a violation

of FLSA. (See Tr. of Premot. Conference dated Apr. 23, 2025 (“Apr. 23 Tr.”), Dkt. No.

22-1 at 19:07–20:17).

       Southwest did not contend in its letter that Plaintiffs’ Complaint failed the “test”

for prompt payment claims under Rogers. (Def.’s PMC Letter at 3; Compl. dated Dec.

29, 2024 (“Compl.”), Dkt. No. 1). Nor did it do so at oral argument.1 In fact, Southwest



       1 The Court: Explain to me your prompt payment argument.   Is it that
       there is no claim under FLSA for prompt payment that’s based on a 191
       violation?

       [Southwest’s Counsel]: I think there are a couple of levels. One, I think
       that our argument here is when you are looking at what is objectively
       reasonable, particularly in a case where you have a CBA, it’s hard to say

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conceded that NYLL § 191 can be used to determine objectively reasonable promptness

of payment under FLSA:

       The Court: [A]lthough it may not be dispositive as to it being prompt
       payment or not, why can’t what state law provide[s] be one fact that is
       looked at in determining, and an objective fact at that, what is prompt or
       not prompt?

       [Southwest’s Counsel]: I would agree with that, your Honor. I’m not
       going to argue that New York labor law isn’t one factor that the court
       wouldn’t look at when determining what is objectively reasonable.

       [Southwest’s Counsel]: You are just saying a 191 violation does not by
       itself create a prompt payment violation under FLSA.

       Mr. Burns: That’s exactly right, your Honor.

(Apr. 23 Tr. at 7:21–8:08). Now, under the guise of reconsideration, it contends that this

Court “erred by not determining whether Plaintiffs satisfied their burden under the

binding test established in Rogers[.]” (Mem. of Law in Supp. of its Mot. for Recons.

dated May 7, 2025 (“Def.’s Mem. of Law”), Dkt. No. 21-1 at 1). That, of course, is an

entirely new set of arguments. Having first used Rogers as a passing citation for an

argument that state law cannot determine federal law payment frequency, Southwest

now spends pages discussing how Rogers sets forth a multi-part “test” which Plaintiffs’

Complaint allegedly fails to meet. (Id. at 3–6). If Rogers set forth a pleading “test” that

the Complaint failed to satisfy, Southwest should have said so in its letter or at oral

argument. But it did not. (See Def.’s PMC Letter; Apr. 23 Tr.). These new arguments




       that it’s not reasonable to pay on a two-week basis. But, yes. I think our
       argument is that the New York labor law does not dictate what prompt
       payment means under the FLSA.

(Apr. 23 Tr. at 6:17–7:02).

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are a sufficient basis to deny the motion for reconsideration. E.g., Cooke v. Frank

Brunckhorst Co., LLC, 734 F. Supp. 3d 206, 213 (E.D.N.Y. 2024) (denying reconsideration

in FLSA case, inter alia, because defendant raised new arguments “without excuse as to

why these arguments were not raised previously . . . [which] are therefore not

cognizable on a motion for reconsideration”); Callari v. Blackman Plumbing Supply, Inc.,

988 F. Supp. 2d 261, 292 (E.D.N.Y. 2013) (denying reconsideration in FLSA case, inter

alia, because parties “may not use a motion for reconsideration to raise new arguments

for the first time when they were free to raise them during the original briefing”

(quotations omitted)).

       In any event, the new arguments have no merit.

       The “pleading requirements” that Southwest takes from Rogers for a prompt

payment claim are anything but. In Rogers, the Second Circuit explained that “the

prompt payment requirement is not violated when an employer changes the pay

schedule, provided that the change: (a) is made for a legitimate business reason; (b)

does not result in unreasonable delay in payment; (c) is intended to be permanent; and

(d) does not . . . [violate other provisions].” 148 F.3d at 58 (emphasis added). But those

elements are only relevant when there are “changes” in pay schedule. Id. at 60 (“We

hold that the FLSA does not prohibit an employer from changing the payday of its

employees for a valid business purpose[.]” (emphasis added)). The only “test” that

Rogers established for prompt payment claims generally is that a violation is measured

against “objective” standards. Id. at 57–58.




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       To interpret Rogers as requiring that a plaintiff plead certain elements, like

business justification, in all prompt payment cases unmoors that portion of Rogers from

its context, and does violence to the concept of objective standards, which can vary from

case to case. Indeed, that is precisely why—even for cases involving changes in

frequency—Rogers said that these elements were relevant “[i]n general.” Id. at 58.2

Rogers did not set establish a set of exhaustive factors that must be pled in every prompt

payment case. Tellingly, Southwest does not cite a single case that interprets Rogers in

this novel, unyielding manner.3 (See Def.’s Mem. of Law).

       Southwest’s position ultimately confuses two issues: whether (1) a violation of

NYLL § 191 constitutes a per se violation of FLSA; and (2) a violation of NYLL § 191 can

be considered as one factor in determining whether there has been a FLSA violation. If

the Plaintiffs were arguing the former, Southwest would have no defense to FLSA if it

was found in violation of NYLL § 191. But Plaintiffs are not taking that position. (See

Apr. 23 Tr. at 9:21–10:01 (“But we are not actually saying . . . if there is a 191 violation,



       2 This is plain from the very cases Southwest relies on.(See Def.’s Mem. of Law
at 4 (citing McDonald v. H&M Fashion USA Inc., No. 24-CV-2476, 2025 WL 744014, at *2
(S.D.N.Y. Mar. 6, 2025))); McDonald, 2025 WL 744014, at *2 (“Cognizable prompt
payment claims typically arise when changes to, or practices regarding, an employee’s
pay schedule stem from no legitimate business purpose, result in an unreasonable
payment delay, or have the effect of evading the FLSA’s minimum wage or overtime
requirements.” (emphasis added)).

       3 Even assuming that the Rogers’s “pleading requirements” applied here, the

Complaint does allege that the late payment was unjustified and unreasonable. (E.g.,
Compl. ¶ 36 (“Defendant does not have a good faith basis for failing to pay Plaintiffs’
and class members’ wages on a weekly basis.”); id. ¶ 37 (“Defendant’s consistent failure
to pay Plaintiffs and the class members weekly is unjustified and objectively
unreasonable.”)).

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there is necessarily a violation of the prompt payment. But we are saying that 191

provides a clearly objective reasonable standard[.]”)). This means that Southwest can

invoke business reasons and other facts in response to justify why its wage payments

were nonetheless prompt under FLSA. Indeed, that is the import and relevance of

Rogers—the ability to consider all objective factors in a comprehensive inquiry into

whether a worker was paid on time. Yet Southwest continues to attack the former

position as legally inconsistent with Rogers (which it would be, by resulting in the Court

ignoring all other standards other than the one in NYLL). Attacking this strawman is

the core logical fallacy in Southwest’s motion for reconsideration.

      As noted by the Court during the premotion conference, courts have held that a

failure to comply with NYLL weekly pay requirements could be evidence of a violation

of FLSA’s prompt payment requirement. (Apr. 23 Tr. at 20:01–06 (citing Cooke, 734 F.

Supp. 3d at 215)). Southwest, however, proceeds to argue anew that FLSA does not

incorporate NYLL’s pay frequency requirements—resurrecting the very argument the

Court previously rejected. (Def.’s Mem. of Law at 7 (“[T]he FLSA does not

automatically incorporate state law requirements. And, relevant here, the FLSA does

not incorporate state law pay frequency requirements.” (citations omitted))). The new

gloss on the recycled arguments fares no better than the original.

      Southwest first takes aim at Cooke, claiming that it fails to apply Rogers. (Id. at 6).

The judge in Cooke did no such thing—the opinion Southwest (and this Court) relied on

was a decision on a motion for reconsideration. 734 F. Supp. 3d at 208. Rogers was

addressed and cited in the original decision underlying the motion for reconsideration.




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See Cooke v. Frank Brunckhorst Co., LLC, 722 F. Supp. 3d 127, 136–37 (E.D.N.Y. 2024), on

reconsideration, 734 F. Supp. 3d at 208. Having done so, there was no reason to do so

again on reconsideration, particularly when Rogers neither sets forth a “test” nor

dispositive requirements for every FLSA prompt payment claim. A failure to comply

with a test of Southwest’s own creation does not make the decision incorrect.

      Southwest then engages in an extended discussion as to why Cooke must be

wrong, because using state law to determine whether FLSA was violated would result

in non-uniform pay frequency across the United States, with workers in Texas being

paid at different times from those in New York. (Def.’s Mem. of Law at 7–9). Of course,

that is exactly the regime that FLSA authorized, by permitting state law to supplement

baseline federal requirements (with minimum wage laws the best example). Indeed,

that is consistent with—not contrary to—FLSA, which is what Cooke recognized. Cooke,

734 F. Supp. 3d at 215 (“Therefore, where the FLSA declined to set an exact frequency of

pay requirement, the FLSA has allowed states—like New York—to augment protections

where necessary, the latter [of] which tracks the spirit of the FLSA.”). And Cooke is not

alone in that assessment. See Mota v. Abalon Exterminating Co., Inc., No. 22-CV-7602,

2024 WL 4202687, at *9 (S.D.N.Y. Sept. 16, 2024) (“[S]imilar considerations were

contemplated by New York’s legislature in devising NYLL Section 191 . . . .

Accordingly, courts in this Circuit have found defendants to have violated the FLSA by

failing to issue prompt payment pursuant to NYLL Section 191.”) (collecting cases).




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       As for the suggestion that Cooke is an outlier, it is incorrect.4 E.g., Mota, 2024 WL

at *9 (collecting cases); Cooke, 734 F. Supp. 3d at 215 (collecting cases). That Southwest

can identify district court cases that decline to follow Cooke—e.g., McDonald, 2025 WL

744014; Pineda v. Big City Realty Mgmt., LLC, No. 22-CV-5428, 2024 WL 5146068, at *6

(E.D.N.Y. Dec. 17, 2024)—does not mean that the Court committed error, let alone clear

error. (Def.’s Mem. of Law at 3). See, e.g., J.B. Sterling Co. v. Verhelle, 470 F. Supp. 3d

298, 302–03 (W.D.N.Y. 2020) (denying reconsideration and holding that there was no

clear error of law where the cited authority did not apply “in [the] context,” where there

was otherwise an absence of binding authority, and where “disagreement with the

Court's analysis of [a] legal issue is not grounds for reconsideration”); In re C-TC 9th

Ave. P’ship v. Norton Co., 182 B.R. 1, 3 (N.D.N.Y. 1995) (“[A]ny litigant considering

bringing a motion for reconsideration must evaluate whether what may seem to be a

clear error of law is in fact simply a point of disagreement between the Court and the

litigant.”). And, the cases Southwest relies on arguably only address the “per se”

violation of FLSA distinguished above. McDonald, 2025 WL 744014 at *3 (“Beyond their

bare assertion that violating NYLL § 191 necessarily gives rise to an FLSA claim,

Plaintiffs fail to allege any facts that would allow the Court to analyze their FLSA claim




       4 Southwest also suggests that the failure to pay late was combined with another

violation, i.e., underpayment of wages owed, in the cases cited in Cooke to show a
violation of FLSA. (Def.’s Mem. of Law at 9). To be sure, this is a feature of some other
cases, but there is no requirement—other than standing, i.e., establishing injury from the
late payment—that a FLSA prompt payment claim be accompanied by another FLSA or
NYLL violation to be actionable.

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‘by reference to objective standards.’” (emphasis added) (quoting Rogers, 148 F.3d at

58)).

        Finally, Southwest contends that the Court erred because it “overlooked

objective data” like that contained on a federal website. (Def.’s Mem. of Law at 9–10).

Besides it being impossible to overlook something never before presented—in either the

premotion letter or oral argument—the argument is also impertinent. The Court has

the discretion to consider such material on a motion to dismiss, but not for the truth of

the statements contained therein. Hesse v. Godiva Chocolatier, Inc., 463 F. Supp. 3d 453,

463 (S.D.N.Y. 2020) (“Even though the Court takes judicial notice of [internet materials],

their purposes at the motion-to-dismiss stage are limited. They may be used only for

‘determining what the documents state,’ and [defendant] cannot rely on them to ‘prove

the truth of their contents.’” (quoting Roth v. Jennings, 489 F.3d 499, 509 (2d Cir. 2007))).

But the Court certainly would not consider such information on a motion for

reconsideration of a denial of a motion to dismiss, because it represents a new

argument.5

        Southwest’s motion for reconsideration is denied.




        5 Southwest alternatively asks for further opportunity to fully brief the issues on

its original motion to dismiss. (Def.’s Mem. of Law at 2). As the Court noted in its
original oral ruling, a motion to dismiss may be deemed as having been made after a
premotion submission and oral argument. (Apr. 23 Tr. at 15:03–15:21). And here,
where the arguments have no merit, and when Southwest has now briefed a motion to
reconsider that raises the same—and new—arguments, there is no reason to delay this
case further. The request is denied.

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                                                    SO ORDERED.
                                                    /s/ Sanket J. Bulsara
                                                    SANKET J. BULSARA
                                                    United States District Judge


 Date: May 13, 2025
       Central Islip, New York




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